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AO 245 8 (Rev. I 0/ 15) Judgment in a C riminal Case
                          Sheet I



                                            UNITED STATES DISTRICT COURT
                                                             Western District of Arkansas
                                                                              )
                 UNITED STATES OF AMERICA                                     )     JUDGMENT IN A CRIMINAL CASE
                            v.                                                )
                                                                              )
                                                                                    Case    umber:         5: l 6CR50001 -001
                                                                              )
                     RIGOBERTO BENAVIDEZ                                      )     USM Number:            14153-010
                               a/k/a Cha lan                                  )
                                                                              )     Jess Marvin Honeycutt
                                                                              )     Defendant's Attorney
THE DEFENDANT:
X pl eaded guilty to count(s)          Two (2) of the Indictment o n March l l , 201 6

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated gui lty of these offenses:

Title & Section                      Nature of Offense                                                       Offense Ended             Count
2 1U.S .C.§84l(a)(l)                 Aiding and Abetting the Distribution ofMethamphetamine                    10/17/2015                2
and 18 U.S.C. § 2




T he defendant is sentenced as provided in pages 2 through __
                                                            6_             of thi judgment. The sentence is imposed pursuant to the Sentencing
Reforn1 Act of 1984.
D The defendant has been fo und not guilty on count(s)
X Count(s) One ( l ) of the Indictment            X is D are dismissed on the motion of the United States.
It is ordered that the defendant mu t noti fy the United States attorney fo r this district within 30 days of any change ofname, residence, or mailing
address until a ll fines, restitution, costs, and special assessments imposed by this j udgment are full y paid . If ordered to pay restitution, the
defendant must notify the court and U nited States attorney of material changes in economic c ircumstances.




                                                                            Honorable T imothy L. Broo ks, United States District Judge
                                                                            Name and Title of Judge


                                                                            J, v\( 1l1 2olb
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                         Sheet 2 - Im prisonment
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 DEFENDANT:                    RIGOBERTO BENAVIDEZ a/k/a Chalan
 CASE NUMB ER:                 5: l 6CR50001-00 I

                                                             IMPRISONMENT
          The defendant is_hereby conunitted to the custody of the Unjted States Bureau of Prisons to be impri soned for a
 total tem1 of:     one hundred (100) months


     D The court makes the fo ll owing recommendations to the Burea u of Prisons:




     X   The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal fo r this di trict:
          D at                                     D a. m.     D    p.m.      on

          D as noti fied by the United States Marshal.

     D The defendant shall surrender fo r ervice of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D   as notified by the United States Marshal.

          D   a notified by the Pro bation or Pretrial Services Office .



                                                                   RETURN
I have executed this judgment as fo llows:




          Defendant delivered on                                                           to

a                                                   , with a certified copy of thi s j udgment.



                                                                                                     UN ITED STATES MARS HAL



                                                                           By
                                                                                                  DEPUTY U !TED STATE MARS HAL
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           Case IO/I S) Judgment in a Criminal Case
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                         Sheet 3 - Supervised Re lease
                                                                                                               Judgment- Page       3     of        6
 DEFENDANT:                     RIGOBERTO BENAVIDEZ a/k/a Chalan
 CASE NUMBER:                   5: l 6CR50001-00 l
                                                           SUPERVISED RELEASE

 Upo n release fro m imprisonment, the defendant shall be on supervised release fo r a tem1 of:             three (3) years




 T he defendant must report to the probation offi ce in the district to which the defendant is released within 72 hours ofrelease from the custody
 of the Bureau of Prisons.
 The defendant shall not commit another federa l, state or loca l crime.
 T he defendant shall not unlawfully possess a contro lled substance. The defendant shall refrain from any unlawfu l u e of a contro lled
 substance. T he defendant hall submi t to one drug test within 15 days of release fro m impri sonment and at least two periodic drug tests
 thereafter, a determined by the court.

 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low ri sk of
          future substance abuse. (Check. if applicable.)   ·

 x        The defendant shall not possess a firearm , ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)

 x        T he defendan t shall cooperate in the co llection of DNA as directed by the probation officer. (Check. if applicable.)

          The defendant shall comply with the requirements of.the Sex Offe nder Registration and .Notification Act. (42 U.S .C. § 1690 1, ~t seq .)
 D        as directed by the probation offi cer, the Bureau of Pnsons, or any tate sex offender registration agency 111 which he or she resides,
          wo rks, is a student, or was convicted of a qua lifying offen e. (Ch eck, if applicable.)

 D        The defendant shall partic ipate in an approved program fo r domestic violence. (Check. if applicable.)
 If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
 of Payments sheet of this judgment.
 The defendant must comply wi th the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attac hed page.

                                           ST AND ARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendan t shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall upport hi or her dependents and meet other fami ly responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the pro bation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall no tify the probation officer at least ten day prior to any change in residence or employment;
     7)     the defendan t hall refra in fro m excessive use of alcoho l and shall not purchase, possess, use, distribute, or administer an y
            controlled substance or any parap hernalia related to any contro lled substances, except a prescribed by a physician;
     8)     the defendant sha ll not frequent places where controlled ubstances are illega lly so ld, used, distributed, or admini tered;
     9)    the defendant ha ll not assoc iate with an y persons engaged in criminal acti vity and shall not associate with an y person convicted of a
           fe lony, unles granted pennission to do so by the probation offi cer;
  10)      the defendant shall permit a pro bation officer to visit him or her at any time at home or elsewhere and ha ll penni t confi ca tion of any
           contra band observed in plain view of the pro bation officer;
  11)       the defendant shall notify the pro bation offi cer within seventy-two hours of being arrested or questioned by a law enfo rcement officer;
  12)      the defondant sha ll not ente r into any agreement to ac t as an info rmer or a spec ial agent of a law enfo rcement agency without the
           pem11 s ion of the court; and
  13)      as directed by the probation offi cer, the defendant shall notify .third parties .o fri sks that may be occasioned by the defenda nt' s criminal
           record or personal history o r characten st1cs and sha ll penmt the probation officer to make such notifications and to confi rn1 the
           defe ndant's compli ance with such notifi cation requirement.
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          heel 3C - Superv i ed Release
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DEFENDANT :                   RIGOB ERTO BENAVIDEZ a/k/a Chalan
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                                             SPECIAL CONDITIONS OF SUPERVISION
l. The defendant shall submit to inpatient or outpatient sub tance abuse testing, evaluation, counse ling, and/o r treatment, as may be deemed
necessary and as directed by the U.S. Probation Offi ce.

2. The defendant shall submit his per on, residence, place of employment and vehicle to a search to be conducted by the U.S. Probation Office r
at any reasonable time and in any reasonable manner based on any reasonable suspicion that evidence of any violation of conditions of
supervised release might be thereby disc losed.
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                     Sheet 5 - Cri min al Monetary Penalties
                                                                                                         Judgment -   Page     5      of       6
DEFENDANT:                       RIGOBERTO BENAVIDEZ a/k/a Chalan
CASE NUMBER:                     5: l 6CR50001 -00 l
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the tota l criminal monetary penalti es under the schedule of payments on Sheet 6.


                    Assessment                                            Fine                                  Restitution
TOTALS            $ 100.00                                              $ l ,900.00                          $ -0-


D The detem1ination of re titution is deferred until                    . An Amended Judgm ent in a Criminal Ca e {A O 245 C) will be entered
     after such detennination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned ,Payment, unless specified otherwi e in
     the priority order or percentage payment co lumn below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Pavee                               Total Loss*                           Restitution Ordered                        Priority or Percentage




TOTALS                                                                        $


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2 ,500, unless the restitution or fine is paid in full before the
      fifteenth da y after the date of the judgment, pursuant to 18 U.S.C. § 36 l 2(f) . All of the payment options on Sheet 6 may be subj ect
      to penalties fo r delinquency and default, pursuant to 18 U.S.C. § 36 l2(g).

X     The court detem1ined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement i wa ived fo r the         X    fine     D    restitution.

      D the interest requirement fo r the      D     fine       D restitution is modified as fo llows:

*Findings for the total amount of los es are required under Chapter l 09A, l I 0, l l OA, and l I 3A ofT itle 18 fo r offen es committed on or after
September 13, 1994 , but before April 23 , 1996.
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                  Sheet 6 -   Sched ule o f Payments

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DEFENDANT:                    RIGOB ERTO BENAVIDEZ a/k/a Chalan
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                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant' s abi lity to pay, payment of the total criminal monetary penaltie is due as follows:

 A    X    Lump sum payment of$             2,000.00 .          due immediately, balance due

            D    not later than                                     , or
           x     in accordance            D C,         D D,    D     E, or      X F below; or
 B    D    Payment to begin immediately (may be combined with                oc,          D D, or      D F below); or
C     D    Payment in equal                       (e.g. . weekly, mom lily. quarterly) installments of $                             over a period of
                        (e.g., months or years), to commence                          (e.g. , 30 or 60 days) after the date of thi judgment; or

D     D    Payment in equal                        (e.g., weekly, monthly. quarterly) installments of $                           over a period of
                         (e.g.. months or year ), to commence                        (e.g. , 30 or 60 days) after release from impri on.men! to a
           term of supervision; or

 E    D    Payment during the tem1 of supervised release will commence within                    (e. g. , 30 or 60 days) after release from
           imprisonment. The court wi ll set the payment plan based on an assess ment of the defendant ' s ability to pay at that time; or

 F    X     Specia l instructions regarding the payment of criminal monetary penalties:
           If not paid inm1ediately any unpaid financial penalty shall be paid by the defendant during his tem1 of im12risonment at a rate of up
           to 50% of the defendant' s available funds, in accordance with the Inmate Financial Responsibility Program. During residential reentry
           placement, payments will be I 0% of the defendant' s gross monthly income. The payment of any remainin~ balance shall become a
           condition of supervised release and shall be paid in monthly instanments of $100.00 or 15% of defendant s net monthly hou ehold
           incomf:'. , whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of the period of
           supervt ed release.


 Unless the court has expressly ordered otherwi se, ifthisjudoment imposes imprisonment, payment of crinllnal monet?J)' penalties is due during
 imprisonment. All criminal monetary pena lti e~ except those payments made througfi the Federal Bureau of Prisons ' Inmate Financial
 Responsibility Program, are made to the clerk or the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Number (including def endant numbe1), T otal Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court co t(s) :

D     The defendant shal l forfeit the defendant's interest in the fo llowing property to the United States:


Payments shall be applied in .the follow_ing order: ( 1) assessment, (2) re~tituti qn principal, (3) restitution intere t, (4) fine principal,
(5) fine mterest, (6) commumty rest1tut1on, (7) penalties, and (8) costs, mcludmg cost of prosecution and court costs.
